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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 VARTA MICROBATTERY GMBH,                         §
                                                  §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §   CIVIL ACTION NO. 2:21-CV-00036-JRG
                                                  §   (LEAD CASE)
 GUANGDONG MIC-POWER NEW                          §
 ENERGY CO., LTD.,                                §
                                                  §
                Defendant.

                                                  §
 AUDIO PARTNERSHIP LLC, AUDIO                     §
 PARTNERSHIP PLC D/B/A CAMBRIDGE                  §   CIVIL ACTION NO. 2:21-CV-00037-JRG
 AUDIO,                                           §   (MEMBER CASE)
                                                  §
                                                  §
                Defendants.                       §

                                                  §
 PEAG, LLC D/B/A JLAB AUDIO,                      §
                                                  §   CIVIL ACTION NO. 2:21-CV-00038-JRG
                                                  §   (MEMBER CASE)
                Defendant.                        §

                                            ORDER

       Before the Court is the Joint Motion to Dismiss Pursuant to Rule 41(a)(2) (the “Motion”)

filed by VARTA Microbattery GmbH (“Plaintiff”) and Defendants Audio Partnership LLC and

Audio Partnership PLC d/b/a Cambridge Audio (collectively, “Cambridge”). (Dkt. No. 183.) In

the Motion, the parties represent that they have executed a settlement agreement and seek dismissal

with prejudice of all claims asserted by VARTA against Cambridge. (Id. at 1.)

       Having considered the Motion, and noting its joint nature, the Court finds that it should be

and hereby is GRANTED. Accordingly, all claims and causes of action asserted against
  .
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Defendants Audio Partnership LLC and Audio Partnership PLC d/b/a Cambridge Audio in the

above-captioned case are DISMISSED WITH PREJUDICE. Each party is to bear its own costs,

expenses, and attorneys’ fees. The above-captioned case is to remain OPEN in light of the

remaining parties and claims.

     So ORDERED and SIGNED this 16th day of May, 2022.




                                                  ____________________________________
                                                  RODNEY GILSTRAP
                                                  UNITED STATES DISTRICT JUDGE




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